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14
15                         UNITED STATES DISTRICT COURT
16
                         CENTRAL DISTRICT OF CALIFORNIA
17
18                                        )
       API Systems, Inc., a California    )   Civil Case No. 8:21-CV-00507-JVS-
19
       corporation,                       )   DFM
20                                        )
21
                    Plaintiff,            )   STIPULATED PROTECTIVE
                                          )   ORDER
22           v.                           )
23                                        )
       Clarvue, Inc., a California        )   DISCOVERY MATTER
24     corporation,                       )
25                                        )
                    Defendant.            )
26
                                          )
27                                        )
28
                                          )

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 1
       1.    PURPOSES AND LIMITATIONS
             Discovery in this action may involve production of confidential, proprietary,
 2
       or private information for which special protection from public disclosure and from
 3
       use for any purpose other than prosecuting this litigation may be warranted.
 4
       Accordingly, the parties hereby stipulate to and petition the Court to enter the
 5
       following Stipulated Protective Order. The parties acknowledge that this Order
 6
       does not confer blanket protections on all disclosures or responses to discovery and
 7
       that the protection it affords from public disclosure and use extends only to the
 8
       limited information or items that are entitled to confidential treatment under the
 9
       applicable legal principles. The parties further acknowledge, as set forth in Section
10
       12.3, below, that this Stipulated Protective Order does not entitle them to file
11
       confidential information under seal. Civil Local Rule 79-5 sets forth the
12
       procedures that must be followed and the standards that will be applied when a
13
       party seeks permission from the Court to file material under seal.
14
15
                                  GOOD CAUSE STATEMENT
16
             This action may involve trade secrets, customer and pricing lists and other
17
       valuable research, development, commercial, financial, technical and/or
18
       proprietary information for which special protection from public disclosure and
19
       from use for any purpose other than prosecution of this action is warranted. Such
20
       confidential and proprietary materials and information consist of, among other
21
       things, confidential business or financial information, information regarding
22
       confidential business practices, or other confidential research, development, or
23
       commercial information (including information implicating privacy rights of third
24
       parties), information otherwise generally unavailable to the public. Accordingly, to
25
       expedite the flow of information, to facilitate the prompt resolution of disputes
26
       over confidentiality of discovery materials, to adequately protect information the
27
       parties are entitled to keep confidential, to ensure that the parties are permitted
28
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 1     reasonable necessary uses of such material in preparation for and in the conduct of
 2     trial, to address their handling at the end of the litigation, and serve the ends of
 3     justice, a protective order for such information is justified in this matter.
 4           It is the intent of the parties that information will not be designated as
 5     confidential for tactical reasons and that nothing be so designated without a good
 6     faith belief that it has been maintained in a confidential, non-public manner, and
 7     there is good cause why it should not be part of the public record of this case.
 8
 9     2.    DEFINITIONS
10           2.1    Action: This pending federal lawsuit.
11           2.2    Challenging Party: a Party or Non-Party that challenges the
12     designation of information or items under this Order.
13           2.3    “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL - ATTORNEY
14     EYES ONLY” Information or Items: information (regardless of how it is
15     generated, stored or maintained) or tangible things that qualify for protection under
16     Federal Rule of Civil Procedure 26(c), and as specified above in the Good Cause
17     Statement.
18           2.4    Counsel: Outside Counsel of Record (as well as their support staff).
19           2.5    Designating Party: a Party or Non-Party that designates information or
20     items that it produces in disclosures or in responses to discovery as
21     “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL - ATTORNEY EYES
22     ONLY.”
23           2.6    Disclosure or Discovery Material: all items or information, regardless
24     of the medium or manner in which it is generated, stored, or maintained (including,
25     among other things, testimony, transcripts, and tangible things), that are produced
26     or generated in disclosures or responses to discovery in this matter.
27
28
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 1           2.7    Expert: a person with specialized knowledge or experience in a matter
 2     pertinent to the litigation who has been retained by a Party or its counsel to serve
 3     as an expert witness or as a consultant in this Action.
 4           2.8    “HIGHLY CONFIDENTIAL – ATTORNEY EYES ONLY”:
 5           Material to be shielded from public access, restricted from any access by the
 6     parties, and available for review by Outside Counsel of Record for the parties are
 7     governed by the provisions below. Such material may include the following types
 8     of information: (1) sensitive technical information, including current research,
 9     development and manufacturing information; (2) sensitive business information,
10     including highly sensitive financial or marketing information; (3) competitive
11     technical information, including technical analyses or comparisons of competitor’s
12     products or services; (4) competitive business information, including non-public
13     financial and marketing analyses, media scheduling, comparisons of competitor’s
14     products or services, and strategic product/service expansion plans; (5) personal
15     health or medical information; (6) an individual’s personal credit, banking or other
16     financial information; or (7) any other commercially sensitive information the
17     disclosure of which to non-qualified persons subject to this Order the Producing
18     Party reasonably and in good faith believes would likely cause harm.
19          2.9     House Counsel: attorneys who are employees of a party to this Action.
20     House Counsel does not include Outside Counsel of Record or any other outside
21     counsel.
22          2.10    Non-Party: any natural person, partnership, corporation, association,
23     or other legal entity not named as a Party to this action.
24          2.11    Outside Counsel of Record: attorneys who are not employees of a
25     party to this Action but are retained to represent or advise a party to this Action
26     and have appeared in this Action on behalf of that party or are affiliated with a law
27     firm which has appeared on behalf of that party (and includes support staff).
28
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 1          2.12    Party: any party to this Action, including all of its officers, directors,
 2     employees, consultants, retained experts, and Outside Counsel of Record (and their
 3     support staffs).
 4          2.13    Producing Party: a Party or Non-Party that produces Disclosure or
 5     Discovery Material in this Action.
 6          2.14    Professional Vendors: persons or entities that provide litigation
 7     support services (e.g., photocopying, videotaping, translating, preparing exhibits or
 8     demonstrations, and organizing, storing, or retrieving data in any form or medium)
 9     and their employees and subcontractors.
10          2.15    Protected Material: any Disclosure or Discovery Material that is
11     designated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL - ATTORNEY
12     EYES ONLY.”
13          2.16    Receiving Party: a Party that receives Disclosure or Discovery
14     Material from a Producing Party.
15
16     3.    SCOPE
17           The protections conferred by this Stipulation and Order cover not only
18     Protected Material (as defined above), but also (1) any information copied or
19     extracted from Protected Material; (2) all copies, excerpts, summaries, or
20     compilations of Protected Material; and (3) any testimony, conversations, or
21     presentations by Parties or their Counsel that might reveal Protected Material.
22           Any use of Protected Material at trial shall be governed by the orders of the
23     trial judge. This Order does not govern the use of Protected Material at trial.
24
25     4.    DURATION
26           Even after final disposition of this litigation, the confidentiality obligations
27     imposed by this Order shall remain in effect until a Designating Party agrees
28     otherwise in writing or a court order otherwise directs. Final disposition shall be
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 1     deemed to be the later of (1) dismissal of all claims and defenses in this Action,
 2     with or without prejudice; and (2) final judgment herein after the completion and
 3     exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
 4     including the time limits for filing any motions or applications for extension of
 5     time pursuant to applicable law.
 6
 7     5.    DESIGNATING PROTECTED MATERIAL
 8          5.1     Exercise of Restraint and Care in Designating Material for Protection.
 9          Each Party or Non-Party that designates information or items for protection
10     under this Order must take care to limit any such designation to specific material
11     that qualifies under the appropriate standards. The Designating Party must
12     designate for protection only those parts of material, documents, items, or oral or
13     written communications that qualify so that other portions of the material,
14     documents, items, or communications for which protection is not warranted are not
15     swept unjustifiably within the ambit of this Order.
16          Mass, indiscriminate, or routinized designations are prohibited. Designations
17     that are shown to be clearly unjustified or that have been made for an improper
18     purpose (e.g., to unnecessarily encumber the case development process or to
19     impose unnecessary expenses and burdens on other parties) may expose the
20     Designating Party to sanctions.
21          If it comes to a Designating Party’s attention that information or items that it
22     designated for protection do not qualify for protection, that Designating Party must
23     promptly notify all other Parties that it is withdrawing the inapplicable designation.
24          5.2     Manner and Timing of Designations. Except as otherwise provided in
25     this Order (see, e.g., second paragraph of section 5.2(a) and section 5.2(b) below),
26     or as otherwise stipulated or ordered, Disclosure or Discovery Material that
27     qualifies for protection under this Order must be clearly so designated before the
28     material is disclosed or produced.
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 1          Designation in conformity with this Order requires:
 2           (a) for information in documentary form (e.g., paper or electronic
 3     documents, but excluding transcripts of depositions or other pretrial or trial
 4     proceedings), that the Producing Party affix at a minimum, the legend
 5     “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL - ATTORNEY EYES
 6     ONLY” (hereinafter “CONFIDENTIAL legend”), to each page that contains
 7     protected material. If only a portion or portions of the material on a page qualifies
 8     for protection, the Producing Party also must clearly identify the protected
 9     portion(s) (e.g., by making appropriate markings in the margins).
10           A Party or Non-Party that makes original documents available for inspection
11     need not designate them for protection until after the inspecting Party has indicated
12     which documents it would like copied and produced. During the inspection and
13     before the designation, all of the material made available for inspection shall be
14     deemed “HIGHLY CONFIDENTIAL - ATTORNEY EYES ONLY.” After the
15     inspecting Party has identified the documents it wants copied and produced, the
16     Producing Party must determine which documents, or portions thereof, qualify for
17     protection under this Order. Then, before producing the specified documents, the
18     Producing Party must affix the applicable “CONFIDENTIAL legend” to each page
19     that contains Protected Material. If only a portion or portions of the material on a
20     page qualifies for protection, the Producing Party also must clearly identify the
21     protected portion(s) (e.g., by making appropriate markings in the margins).
22               (b) for testimony given in depositions, that the Designating Party identify
23     the Disclosure or Discovery Material on the record, before the close of the
24     deposition, all protected testimony.
25               (c) for information produced in some form other than documentary and
26     for any other tangible items, that the Producing Party affix in a prominent place on
27     the exterior of the container or containers in which the information is stored the
28     applicable “CONFIDENTIAL legend.” If only a portion or portions of the
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 1     information warrants protection, the Producing Party, to the extent practicable,
 2     shall identify the protected portion(s).
 3          5.3     Inadvertent Failures to Designate. If timely corrected, an inadvertent
 4     failure to designate qualified information or items does not, standing alone, waive
 5     the Designating Party’s right to secure protection under this Order for such
 6     material. Upon timely correction of a designation, the Receiving Party must make
 7     reasonable efforts to assure that the material is treated in accordance with the
 8     provisions of this Order.
 9
10     6.    CHALLENGING CONFIDENTIALITY DESIGNATIONS
11          6.1     Timing of Challenges. Any Party or Non-Party may challenge a
12     designation of confidentiality at any time that is consistent with the Court’s
13     Scheduling Order.
14          6.2     Meet and Confer. The Challenging Party shall initiate the dispute
15     resolution process under Local Rule 37.1 et seq., except that the Designating Party
16     must agree to meet and confer within five days of a demand, and the failure to
17     agree to meet within such time shall result in any designation of confidentiality
18     being deemed withdrawn.
19          6.3     The burden of persuasion in any such challenge proceeding shall be
20     on the Designating Party. Frivolous challenges, and frivolous designations (i.e. -
21     those made for an improper purpose (e.g., to harass or impose unnecessary
22     expenses and burdens on other parties)) may expose the Designating Party and/or
23     the Challenging Party to sanctions. Unless the Designating Party has waived or
24     withdrawn the confidentiality designation, all parties shall continue to afford the
25     material in question the level of protection to which it is entitled under the
26     Producing Party’s designation until the Court rules on the challenge.
27
28     7.    ACCESS TO AND USE OF PROTECTED MATERIAL
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 1          7.1      Basic Principles. A Receiving Party may use Protected Material that
 2     is disclosed or produced by another Party or by a Non-Party in connection with this
 3     Action only for prosecuting, defending, or attempting to settle this Action. Such
 4     Protected Material may be disclosed only to the categories of persons and under
 5     the conditions described in this Order. When the Action has been terminated, a
 6     Receiving Party must comply with the provisions of section 13 below (FINAL
 7     DISPOSITION).
 8                Protected Material must be stored and maintained by a Receiving Party at
 9     a location and in a secure manner that ensures that access is limited to the persons
10     authorized under this Order.
11          7.2      Disclosure of “CONFIDENTIAL” Information or Items. Unless
12     otherwise ordered by the Court or permitted in writing by the Designating Party, a
13     Receiving Party may disclose any information or item designated
14     “CONFIDENTIAL” only to:
15                (a) the Receiving Party’s Outside Counsel of Record in this Action, as
16     well as employees of said Outside Counsel of Record to whom it is reasonably
17     necessary to disclose the information for this Action;
18                (b) the officers, directors, and employees (including House Counsel) of
19     the Receiving Party to whom disclosure is reasonably necessary for this Action;
20                (c) Experts (as defined in this Order) of the Receiving Party to whom
21     disclosure is reasonably necessary for this Action and who have signed the
22     “Acknowledgment and Agreement to Be Bound” (Exhibit A);
23                (d) the Court and its personnel;
24                (e) court reporters and their staff;
25                (f) professional jury or trial consultants, mock jurors, and Professional
26     Vendors to whom disclosure is reasonably necessary for this Action and who have
27     signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
28
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 1            (g) the author or recipient of a document containing the information or a
 2   custodian or other person who otherwise possessed or knew the information;
 3            (h) during their depositions, witnesses, and attorneys for witnesses, in the
 4   Action to whom disclosure is reasonably necessary provided: (1) the deposing
 5   party requests that the witness sign the form attached as Exhibit A hereto; and (2)
 6   they will not be permitted to keep any confidential information unless they sign the
 7   “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise
 8   agreed by the Designating Party or ordered by the court. Pages of transcribed
 9   deposition testimony or exhibits to depositions that reveal Protected Material may
10   be separately bound by the court reporter and may not be disclosed to anyone
11   except as permitted under this Stipulated Protective Order; and
12            (i) any mediator or settlement officer, and their supporting personnel,
13   mutually agreed upon by any of the parties engaged in settlement discussions.
14         7.3 Disclosure of “HIGHLY CONFIDENTIAL - ATTORNEY EYES
15   ONLY” Information or Items. Unless otherwise ordered by the Court or permitted
16   in writing by the Designating Party, a Receiving Party may disclose any
17   information or item designated “HIGHLY CONFIDENTIAL - ATTORNEY
18   EYES ONLY” only to:
19                (a) the Receiving Party’s Outside Counsel of Record in this Action
20   and employees of Outside Counsel of Record to whom it is reasonably necessary to
21   disclose the information for this Action;
22                (b) Experts (as defined in this Order) of the Receiving Party to whom
23   disclosure is reasonably necessary for this Action and who have signed the
24   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
25                (c) the Court and its personnel;
26
                  (d) court reporters and their staff;
27
28
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 1                (e) professional jury or trial consultants, and Professional Vendors to
 2   whom disclosure is reasonably necessary for this Action and who have signed the
 3   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
 4                (f) the author or recipient of a document containing the material, or a
 5   custodian or other person who otherwise possessed or knew the information; and
 6                (g) any mediator or settlement officer, and their supporting personnel,
 7   mutually agreed upon by any of the parties engaged in settlement discussions.
 8
 9
     8.    PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
10
           IN OTHER LITIGATION
11
           If a Party is served with a subpoena or a court order issued in other litigation
12
     that compels disclosure of any information or items designated in this Action as
13
     “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL - ATTORNEY EYES
14
     ONLY,” that Party must:
15
               (a) promptly notify in writing the Designating Party. Such notification
16
     shall include a copy of the subpoena or court order;
17
               (b) promptly notify in writing the party who caused the subpoena or order
18
     to issue in the other litigation that some or all of the material covered by the
19
     subpoena or order is subject to this Protective Order. Such notification shall
20
     include a copy of this Stipulated Protective Order; and
21
               (c) cooperate with respect to all reasonable procedures sought to be
22
     pursued by the Designating Party whose Protected Material may be affected.
23
           If the Designating Party timely seeks a protective order, the Party served
24
     with the subpoena or court order shall not produce any information designated in
25
     this action as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL - ATTORNEY
26
     EYES ONLY” before a determination by the court from which the subpoena or
27
     order issued, unless the Party has obtained the Designating Party’s permission.
28
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 1   The Designating Party shall bear the burden and expense of seeking protection in
 2   that court of its confidential material and nothing in these provisions should be
 3   construed as authorizing or encouraging a Receiving Party in this Action to
 4   disobey a lawful directive from another court.
 5
 6   9.    A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
 7         PRODUCED IN THIS LITIGATION
 8             (a) The terms of this Order are applicable to information produced by a
 9   Non-Party in this Action and designated as “CONFIDENTIAL” or “HIGHLY
10   CONFIDENTIAL – ATTORNEY EYES ONLY.” Such information produced by
11   Non-Parties in connection with this litigation is protected by the remedies and
12   relief provided by this Order. Nothing in these provisions should be construed as
13   prohibiting a Non-Party from seeking additional protections.
14             (b) In the event that a Party is required, by a valid discovery request, to
15   produce a Non-Party’s confidential information in its possession, and the Party is
16   subject to an agreement with the Non-Party not to produce the Non-Party’s
17   confidential information, then the Party shall:
18               (1) promptly notify in writing the Requesting Party and the Non-Party
19   that some or all of the information requested is subject to a confidentiality
20   agreement with a Non-Party;
21               (2) promptly provide the Non-Party with a copy of the Stipulated
22   Protective Order in this Action, the relevant discovery request(s), and a reasonably
23   specific description of the information requested; and,
24               (3) make the information requested available for inspection by the
25   Non-Party, if requested.
26            (c) If the Non-Party fails to seek a protective order from this court within
27   14 days of receiving the notice and accompanying information, the Receiving
28   Party may produce the Non-Party’s confidential information responsive to the
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 1   discovery request. If the Non-Party timely seeks a protective order, the Receiving
 2   Party shall not produce any information in its possession or control that is subject
 3   to the confidentiality agreement with the Non-Party before a determination by the
 4   court. Absent a court order to the contrary, the Non-Party shall bear the burden and
 5   expense of seeking protection in this court of its Protected Material.
 6
 7   10.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
 8         If a Receiving Party learns that, by inadvertence or otherwise, it has
 9   disclosed Protected Material to any person or in any circumstance not authorized
10   under this Stipulated Protective Order, the Receiving Party must immediately (a)
11   notify in writing the Designating Party of the unauthorized disclosures, (b) use its
12   best efforts to retrieve all unauthorized copies of the Protected Material, (c) inform
13   the person or persons to whom unauthorized disclosures were made of all the terms
14   of this Order, and (d) request such person or persons to execute the
15   “Acknowledgment and Agreement to Be Bound” that is attached hereto as Exhibit
16   A.
17
18   11.   INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
19         PROTECTED MATERIAL
20         When a Producing Party gives notice to Receiving Parties that certain
21   inadvertently produced material is subject to a claim of privilege or other
22   protection, the obligations of the Receiving Parties are those set forth in Federal
23   Rule of Civil Procedure 26(b)(5)(B). This provision is not intended to modify
24   whatever procedure may be established in an e-discovery order that provides for
25   production without prior privilege review. Pursuant to Federal Rule of Evidence
26   502(d) and (e), insofar as the parties reach an agreement on the effect of disclosure
27   of a communication or information covered by the attorney-client privilege or
28
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 1   work product protection, the parties may incorporate their agreement in the
 2   stipulated protective order submitted to the court.
 3
 4   12.   MISCELLANEOUS
 5         12.1   Right to Further Relief. Nothing in this Order abridges the right of
 6   any person to seek its modification by the Court in the future.
 7         12.2   Right to Assert Other Objections. By stipulating to the entry of this
 8   Protective Order, no Party waives any right it otherwise would have to object to
 9   disclosing or producing any information or item on any ground not addressed in
10   this Stipulated Protective Order. Similarly, no Party waives any right to object on
11   any ground to use in evidence of any of the material covered by this Protective
12   Order.
13         12.3   Filing Protected Material. A Party that seeks to file under seal any
14   Protected Material must comply with Civil Local Rule 79-5. Protected Material
15   may only be filed under seal pursuant to a court order authorizing the sealing of the
16   specific Protected Material at issue. If a Party's request to file Protected Material
17   under seal is denied by the court, then the Receiving Party may file the information
18   in the public record unless otherwise instructed by the court.
19
20   13.   FINAL DISPOSITION
21         After the final disposition of this Action, as defined in paragraph 4, within
22   60 days of a written request by the Designating Party, each Receiving Party must
23   return all Protected Material to the Producing Party or destroy such material. As
24   used in this subdivision, “all Protected Material” includes all copies, abstracts,
25   compilations, summaries, and any other format reproducing or capturing any of the
26   Protected Material. Whether the Protected Material is returned or destroyed, the
27   Receiving Party must submit a written certification to the Producing Party (and, if
28   not the same person or entity, to the Designating Party) by the 60-day deadline that
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 1   (1) identifies (by category, where appropriate) all the Protected Material that was
 2   returned or destroyed and (2) affirms that the Receiving Party has not retained any
 3   copies, abstracts, compilations, summaries or any other format reproducing or
 4   capturing any of the Protected Material.
 5         Notwithstanding this provision, Counsel are entitled to retain their file, even
 6   if such materials contain Protected Material. Any such archival copies that contain
 7   or constitute Protected Material remain subject to this Protective Order as set forth
 8   in Section 4 (DURATION).
 9
10   14.   Any violation of this Order may be punished by any and all appropriate
11   measures including, without limitation, contempt proceedings and/or monetary
12   sanctions.
13
14   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
15
16
     DATED:       October 21, 2021

17         /s/ Ben T. Lila
18   MANDOUR & ASSOCIATES, APC
     Attorneys for Plaintiff
19
20   DATED:       October 21, 2021
21
22         /s/ Steven Brower
23
     BROWER LAW GROUP, APC
     Attorneys for Defendant
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                                                               Civil Case No. 8:21-CV-00507-JVS-DFM
                                                       [PROPOSED] STIPULATED PROTECTIVE ORDER
                                                -15-
 Case 8:21-cv-00507-JVS-DFM Document 22 Filed 10/25/21 Page 16 of 18 Page ID #:156




 1
     FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.

 2   DATED: October 25, 2021
 3
 4
 5   _____________________________________
     Honorable Douglas F. McCormick
 6
     UNITED STATES MAGISTRATE JUDGE
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                                                       Civil Case No. 8:21-CV-00507-JVS-DFM
                                               [PROPOSED] STIPULATED PROTECTIVE ORDER
                                        -16-
 Case 8:21-cv-00507-JVS-DFM Document 22 Filed 10/25/21 Page 17 of 18 Page ID #:157




 1
                                           EXHIBIT A
                ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 2
     I, _____________________________ [print or type full name], of
 3
     _________________ [print or type full address], declare under penalty of perjury
 4
     that I have read in its entirety and understand the Stipulated Protective Order that
 5
     was issued by the United States District Court for the Central District of California
 6
     on ________ [date] in the case API Systems, Inc. v. Clarvue, Inc., Civil Case No.
 7
     8:21-CV-00507-JVS-DFM. I agree to comply with and to be bound by all the
 8
     terms of this Stipulated Protective Order and I understand and acknowledge that
 9
     failure to so comply could expose me to sanctions and punishment in the nature of
10
     contempt. I solemnly promise that I will not disclose in any manner any
11
     information or item that is subject to this Stipulated Protective Order to any person
12
     or entity except in strict compliance with the provisions of this Order.
13
             I further agree to submit to the jurisdiction of the United States District
14
     Court for the Central District of California for the purpose of enforcing the terms
15
     of this Stipulated Protective Order, even if such enforcement proceedings occur
16
     after termination of this action. I hereby appoint __________________________
17
     [print or type full name] of _______________________________________ [print
18
     or type full address and telephone number] as my California agent for service of
19
     process in connection with this action or any proceedings related to enforcement of
20
     this Stipulated Protective Order.
21
     Date:
22
     City and State where sworn and signed:
23
24
     Printed name:
25
26
     Signature:
27
28
                                                               Civil Case No. 8:21-CV-00507-JVS-DFM
                                                       [PROPOSED] STIPULATED PROTECTIVE ORDER
                                                -17-
 Case 8:21-cv-00507-JVS-DFM Document 22 Filed 10/25/21 Page 18 of 18 Page ID #:158




 1                             CERTIFICATE OF SERVICE
 2          I hereby certify that on the below date, I filed the foregoing:
 3
 4
                  [PROPOSED] STIPULATED PROTECTIVE ORDER

 5
     with the Court’s CM/ECF electronic filing system which will provide notice to the
 6
     parties.
 7
 8
     Date: October 22, 2021
 9
10                                                /s/ Ben T. Lila
                                             Ben T. Lila
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                                                              Civil Case No. 8:21-CV-00507-JVS-DFM
                                                      [PROPOSED] STIPULATED PROTECTIVE ORDER
                                               -18-
